












Dismissed and Memorandum Opinion filed July 22, 2010.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-10-00579-CR

____________

&nbsp;

JONATHAN KEITH BUSH, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 230th District Court

&nbsp;Harris County, Texas

Trial Court Cause No. 1255547

&nbsp;



&nbsp;

MEMORANDUM
OPINION

Appellant entered a guilty plea to burglary of a building.&nbsp;
In accordance with the terms of a plea bargain agreement with the State, the
trial court deferred adjudicating guilt, placed appellant under community
supervision for a period of three years, and assessed a $200 fine.&nbsp; Appellant
filed a pro se notice of appeal.&nbsp; We dismiss the appeal. 

The trial court entered a certification of the defendant’s
right to appeal in which the court certified that this is a plea bargain case,
and the defendant has no right of appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp;
The trial court’s certification is included in the record on appeal.&nbsp; See
Tex. R. App. P. 25.2(d).&nbsp; The record supports the
trial court’s certification.&nbsp; See Dears v. State, 154 S.W.3d 610, 615
(Tex. Crim. App. 2005).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Justices
Brown, Sullivan, and Christopher.

Do Not Publish C Tex. R. App. P. 47.2(b)





